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                   Nos. 21-50303, 21-50305
            _____________________________________

         UNITED STATES COURT OF APPEALS
              FOR THE NINTH CIRCUIT
                     ________

              UNITED STATES OF AMERICA,

                        Plaintiff-Appellee,

                                  v.

                    JOSE GAMBINO-RUIZ,

                     Defendants-Appellants.
                            _______

                        Appeal from the
                  United States District Court
             for the Southern District of California
              Honorable Larry A. Burns Presiding
                            _______

              APPELLANT’S OPENING BRIEF
                       _______

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                  UNITED STATES COURT OF APPEALS

                          FOR THE NINTH CIRCUIT


UNITED STATES OF AMERICA,                      U.S.C.A. No. 21-50303, 21-50305

              Plaintiff-Appellee,              U.S.D.C. No. 20-CR-3124-LAB
                                               U.S.D.C. No. 20-CR-10144-LAB
v.
                                               APPELLANT’S OPENING
JOSE GAMBINO-RUIZ,                             BRIEF
              Defendant-Appellant.


                               INTRODUCTION

     “We begin, as always, with the text of the statute.”1 This common

judicial refrain—and a recent opinion by a unanimous en banc panel—

dictate the outcome of this challenge to a conviction for illegal reentry

under 8 U.S.C. § 1326.

     In Torres v. Barr, 976 F.3d 918 (9th Cir. 2020) (en banc), this

Court interpreted the meaning of the phrase “at the time of application

for admission” in the ground of inadmissibility at 8 U.S.C. § 1182(a)(7).

It held that this phrase refers to “the moment of applying for entry at



     1 See, e.g., Permanent Mission of India to United Nations v. City of
New York, 551 U.S. 193, 197 (2007); Kaganovich v. Gonzales, 470 F.3d
894, 897 (9th Cir. 2006).

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the border.” Id. at 925. But an immigration officer found Mr. Gambino-

Ruiz inadmissible under this ground even though he never applied for

admission at the border. Based on this error, the officer deported

Mr. Gambino-Ruiz through an expedited proceeding that stripped him

of nearly all his procedural protections and opportunities for relief.

Because Mr. Gambino-Ruiz’s placement in this proceeding contradicted

Torres, his underlying removal order was unlawful.

      At sentencing, the district court also denied Mr. Gambino-Ruiz a

two-level downward adjustment for acceptance of responsibility under

U.S.S.G. § 3E1.1(a). In considering this adjustment, the court was

supposed to apply a list of “appropriate considerations” that appear in

the commentary of the Sentencing Guidelines. But the court applied

almost none of these considerations, instead fixating on whether

Mr. Gambino-Ruiz should have sought a bench trial or a conditional

plea instead of a jury trial.

      For these reasons, the Court should vacate Mr. Gambino-Ruiz’s

conviction. Alternatively, the Court should remand for the district court

to apply the correct factors to the acceptance adjustment.




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      STATEMENT OF JURISDICTION AND BAIL STATUS

      The district court had jurisdiction over this criminal case under 18

U.S.C. § 3231 and entered final judgment on December 16, 2021. ER-

58–63. On December 21, 2021, Mr. Gambino-Ruiz filed a notice of

appeal, rendering it timely.2 ER-131–32; Fed. R. App. P. 4(b)(1)(A)(i).

Mr. Gambino-Ruiz is currently in the custody of the Bureau of Prisons

at Herlong Federal Correctional Institution and is scheduled to be

released on August 8, 2025.

                     ISSUES PRESENTED FOR REVIEW

I.    Whether Mr. Gambino-Ruiz’s underlying removal order
      was invalid because he was not subject to expedited
      removal.

II.   Whether the district court applied the correct factors to
      determine whether to grant Mr. Gambino-Ruiz an
      acceptance of responsibility adjustment.


              STATUTORY AND GUIDELINES PROVISIONS

      The statute permitting a person charged with illegal reentry to

challenge their underlying order of removal states:

      In a criminal proceeding under this section, an alien may not
      challenge the validity of the deportation order described in

      2Although Mr. Gambino-Ruiz also filed a notice of appeal on the
revocation of his supervised release in 20-CR-10144-LAB and Case No.
21-50305, he does not appeal that decision here.

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     subsection (a)(1) or subsection (b) unless the alien demonstrates
     that—

     (1)   the alien exhausted any administrative remedies that may
           have been available to seek relief against the order;

     (2)   the deportation proceedings at which the order was issued
           improperly deprived the alien of the opportunity for judicial
           review; and

     (3)   the entry of the order was fundamentally unfair.

8 U.S.C. § 1326(d).

     The expedited removal statute states:

     If an immigration officer determines that an alien (other than
     an alien described in subparagraph (F)) who is arriving in
     the United States or is described in clause (iii) is inadmissible
     under section 1182(a)(6)(C) or 1182(a)(7) of this title, the officer
     shall order the alien removed from the United States without
     further hearing or review unless the alien indicates either an
     intention to apply for asylum under section 1158 of this title or a
     fear of persecution.

8 U.S.C. § 1225(b)(1)(A)(i).

     The statute defining § 1182(a)(7), one of the two categories of

people subject to expedited removal, states:

     Except as otherwise specifically provided in this chapter, any
     immigrant at the time of application for admission—

     (I)   who is not in possession of a valid unexpired immigrant visa,
           reentry permit, border crossing identification card, or other
           valid entry document required by this chapter, and a valid
           unexpired passport, or other suitable travel document, or

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           document of identity and nationality if such document is
           required under the regulations issued by the Attorney
           General under section 1181(a) of this title . . .

     is inadmissible.

8 U.S.C. § 1182(a)(7)(i).

     The Sentencing Guideline governing acceptance of responsibility

states:

     If the defendant clearly demonstrates acceptance of responsibility
     for his offense, decrease the offense level by 2 levels.

U.S.S.G. § 3E1.1(a).

                     STATEMENT OF THE FACTS

I.   Mr. Gambino-Ruiz crosses the border and is placed in
     expedited removal proceedings.

     Mr. Gambino-Ruiz grew up in extreme poverty in Mexico. As a

child, he would often go for days without food. ER-65. At the age of ten,

he dropped out of school to help his father in the fields. ER-65. He first

came to the U.S. when he was 24 years old. PSR 4.

     Mr. Gambino-Ruiz has several convictions in the United States for

immigration-related offenses, drugs, and car theft. PSR 5–7. Between

2013 and 2019, he was removed from the United States approximately

four times. PSR 8.



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     The two removals that the government would later rely on to

prosecute Mr. Gambino-Ruiz occurred through a process known as

“expedited removal.” ER-90, 97. In March 2013, Mr. Gambino-Ruiz was

arrested after having “illegally entered” by crossing the border “east of

Lukeville, Arizona Port of Entry.” ER-90. He was served a notice

advising him that he was inadmissible under § 1182(a)(7)(A)(i)(I) of the

Immigration and Nationality Act as an immigrant “not in possession of

a valid unexpired immigrant visa” or other entry document. ER-90. The

same document ordered him removed, stating that he was “inadmissible

as charged.” ER-90. During an interview taken as part of this

proceeding, Mr. Gambino-Ruiz stated that he had never “applied for any

immigration documents to enter into the United States legally.” ER-93.

He also stated that he was never “inspected by immigration officers at a

Port of Entry.” ER-93.

     Two months later, an immigration officer again placed

Mr. Gambino-Ruiz in expedited removal. ER-95–100. During this

proceeding, Mr. Gambino-Ruiz admitted that he entered the United

States by “walking through the desert near Sonoyta, Mexico.” ER-100.

He was again served a notice advising him that he was inadmissible



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under § 1182(a)(7)(A)(i)(I) as an immigrant “not in possession of a valid

unexpired immigrant visa” or other entry document. ER-97. The same

document again found him “inadmissible as charged” and ordered him

removed. ER-97. He was then physically deported to Mexico. ER-95.

II.   The government later relies on these expedited removal
      orders to prosecute Mr. Gambino-Ruiz for illegal reentry.

      In September 2020, Mr. Gambino-Ruiz found out that his wife was

pregnant with their second child. ER-65. He made the difficult decision

to return to the United States to find work to support his growing

family. ER-65. Not only was Mr. Gambino-Ruiz apprehended during

this crossing, his wife ultimately miscarried. ER-23, 64.

      When Border Patrol agents apprehended Mr. Gambino-Ruiz, he

admitted frankly that he had “illegally entered the U.S.” PSR 4. After

his arrest, he again stated during an interrogation that he “illegally

entered the U.S. by walking through the mountains.” PSR 4. The

government subsequently charged Mr. Gambino-Ruiz with illegal

reentry under 8 U.S.C. § 1326. ER-129–30.




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III.   Mr. Gambino-Ruiz challenges the validity of his expedited
       removal order.

       Mr. Gambino-Ruiz waived indictment but filed a motion to dismiss

the illegal reentry charge against him. ER-101–28. In this motion,

Mr. Gambino-Ruiz challenged the validity of his two expedited removal

orders under 8 U.S.C. § 1326(d).

       Mr. Gambino-Ruiz explained that this Court’s unanimous en banc

decision in Torres, 976 F.3d 918, controlled the legal analysis. Torres

interpreted the same ground of inadmissibility, 8 U.S.C. § 1182(a)(7),

that immigration officers used to remove Mr. Gambino-Ruiz. This

ground renders inadmissible a noncitizen who, “at the time of

application for admission,” is “not in possession of a valid unexpired

immigrant visa” or other entry document. 8 U.S.C. § 1182(a)(7)(A)(i).

Relying on the plain language of the statute, Torres held that this

language applies only to individuals at the moment they submit an

application for admission at a port of entry. ER-106–09.

       But Mr. Gambino-Ruiz had never submitted an application for

admission at a port of entry. ER-97. Thus, Torres precluded a finding

that he was inadmissible under § 1182(a)(7). Mr. Gambino-Ruiz was

inadmissible under a different ground of inadmissibility for being


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“present in the United States without being admitted or paroled” or

“arriv[ing] in the United States at any time or place other than as

designated by the Attorney General.” 8 U.S.C. § 1182(a)(6)(A)(i). But

Congress did not include this ground of inadmissibility in the expedited

removal statute. ER-106 (citing 8 U.S.C. § 1225(b)(1)(A)(i)). Rather,

Congress only listed two grounds of inadmissibility in the expedited

removal statute: § 1182(a)(7) and a ground related to fraud or

misrepresentation. And Mr. Gambino-Ruiz was not inadmissible under

either of these grounds. ER-107–09.

     Because Mr. Gambino-Ruiz was not inadmissible under either of

these grounds, he was not removable as charged. ER-108. Furthermore,

expedited removal stripped him of nearly all the substantive rights and

procedural protections afforded in normal removal proceedings. ER-

108–09. Because his placement in expedited removal violated due

process and met the other requirements to challenge a prior removal

order under § 1326(d), Mr. Gambino-Ruiz argued that the district court

should dismiss the information. ER-109–11.

     The government filed a response opposing this motion. ER-74–

100. The government relied almost entirely on a Supreme Court opinion



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issued three months before Torres. ER-76–84 (citing Dep’t of Homeland

Sec. v. Thuraissigiam, 140 S. Ct. 1959 (2020)). This opinion involved a

petition for habeas corpus filed by an asylum seeker apprehended 30

yards inside the United States. Because this asylum seeker had been

found inadmissible under § 1182(a)(7), the government argued that

Mr. Gambino-Ruiz must be inadmissible under the same ground. ER-

77–78. The government pointed to nothing in Thuraissigiam raising or

addressing the specific statutory interpretation question of § 1182(a)(7)

that Torres confronted and resolved. ER-76–84.

IV.   The district court denies Mr. Gambino-Ruiz’s challenge to
      his expedited removal.

      At a motion hearing, the district court denied Mr. Gambino-Ruiz’s

motion to dismiss. ER-12–12. Like the government, the district court

relied on Thuraissigiam, believing that it “forecloses the argument that

the expedited removal that the government alleges was invalid.” ER-5.

The court asserted that “the ability of the government to expeditiously

remove someone is not limited to the ports of entry, that it applies

across the border for those caught attempting to come in illegally or

coming in illegally.” ER-11. The case then proceeded to trial.




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V.    At trial, Mr. Gambino-Ruiz does not call any witnesses or
      present an affirmative case.

      In a one-day trial, the government called six witnesses and

submitted 18 exhibits. ER-71–73. Mr. Gambino-Ruiz called no

witnesses and submitted no exhibits. ER-71–73. At the conclusion of

trial, the jury found Mr. Gambino-Ruiz guilty of the single count of

illegal reentry. ER-70.

VI.   At sentencing, the district court declines to grant a
      downward adjustment for acceptance of responsibility.

      In a sentencing memorandum, Mr. Gambino-Ruiz requested a

sentence of 18 months. ER-66. He pointed out the difficult

circumstances of his childhood poverty, his wife’s miscarriage, and the

challenges of being incarcerated during the COVID epidemic. ER-66.

      At sentencing, Mr. Gambino-Ruiz also argued that the court

should grant him a two-level downward adjustment for acceptance of

responsibility under U.S.S.G. § 3E1.1(a). ER-25. To determine whether

to grant this adjustment, the Guidelines commentary to § 3E1.1

includes a non-exhaustive list of eight “appropriate considerations”

courts should weigh. U.S.S.G. § 3E1.1 n.1. The commentary also states

that a person who goes to trial may receive acceptance in “rare



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situations,” such as when the individual “seeks to assert and preserve”

certain legal issues. U.S.S.G. § 3E1.1 n.2. Examples of this could

include “a constitutional challenge to a statute or a challenge of the

applicability of the statute to his conduct.” Id. But such a determination

will be based “primarily upon pre-trial statements and conduct,” rather

than post-trial statements and conduct. Id.

     Mr. Gambino-Ruiz argued that he merited an acceptance

adjustment under these factors. ER-26–27. He pointed out that he went

to trial to “preserve his 1326(d) motion.” ER-26. The trial only took one

day, and he did not “contest any specific element” or testify on his own

behalf. ER-26, 27. Prior to trial, Mr. Gambino-Ruiz had also “stipulated

to his fingerprints,” which “saves Government resources.” ER-27. And

when he was initially apprehended, he “admitted to the elements of the

offense.” ER-27.

     The district court nevertheless declined to grant an acceptance

adjustment. ER-42. The court repeatedly faulted Mr. Gambino-Ruiz for

not seeking a conditional plea or a bench trial, though neither of these

are listed as “appropriate considerations” under § 3E1.1 n.1. ER-26–27,

28, 37–38, 39. The court also questioned why Mr. Gambino-Ruiz had not



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made a post-trial statement to the Probation Officer, even though

defense counsel explained that this was in due in part to her own

scheduling issues. ER-25, 28. The court also noted that Mr. Gambino-

Ruiz had filed a motion to suppress his statements and contested a

special allegation that would subject him to a higher statutory

maximum based on his criminal history. ER-38. The court wondered

why Mr. Gambino-Ruiz had not shown more post-trial remorse,

remarking that “a jury’s found him guilty, but where’s the acceptance of

responsibility and contrition? Where is that? I haven’t seen that.” ER-

25–26.

     After denying the acceptance adjustment, the district court

calculated the Guidelines range as 63 to 78 months and imposed a

sentence of 63 months. ER-18, 49. Defense counsel renewed her

objection, arguing that “given the specific circumstances of

Mr. Gambino’s trial, he should have received acceptance.” ER-54. This

appeal follows.

                   SUMMARY OF THE ARGUMENT

     The unanimous en banc decision in Torres controls the outcome of

this case. Torres held that the ground of inadmissibility at § 1182(a)(7)



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only applies at the moment a noncitizen submits an application for

admission at a port of entry. Mr. Gambino-Ruiz never submitted an

application for admission at a port of entry. Thus, he was not

inadmissible under § 1182(a)(7). And because he was not inadmissible

under § 1182(a)(7), he could not be placed in expedited removal

proceedings. This defect satisfied all the requirements of § 1326(d) and

also prevented the government from proving a key element of the

offense. Thus, the Court should vacate Mr. Gambino-Ruiz’s conviction

and remand with instructions to dismiss the information.

     Even if Mr. Gambino-Ruiz’s conviction could stand, the district

court did not apply the correct factors to determine whether to grant

him an adjustment for acceptance of responsibility. Rather than

considering the factors in the Guidelines commentary and

Mr. Gambino-Ruiz’s pre-trial statements, the district court fixated on

his failure to seek a conditional plea or a bench trial and his post-trial

statements. Thus, the Court should at least remand with instructions

for the district court to apply the correct factors to its acceptance-of-

responsibility determination.




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                                ARGUMENT

I.   Mr. Gambino-Ruiz’s underlying removal order was invalid.

     A.    Standard of review

     This Court reviews de novo the denial of a motion to dismiss

an indictment under 8 U.S.C. § 1326(d). United States v. Pallares-

Galan, 359 F.3d 1088, 1094 (9th Cir. 2004); United States v. Muro–

Inclan, 249 F.3d 1180, 1182 (9th Cir. 2001).

     B.    The government had no statutory authority to deport
           Mr. Gambino-Ruiz in an expedited removal.

     In 2013, an immigration officer twice placed Mr. Gambino-Ruiz in

expedited removal proceedings and issued an order of deportation.

Those orders were unlawful. Under Torres, only people who apply for

admission at a port of entry or use fraudulent documents are subject to

expedited removal. Mr. Gambino-Ruiz did neither.

           1.    Torres held that expedited removal only applies
                 to people seeking admission at a port of entry.

     This Court’s unanimous en banc decision in Torres interpreted the

ground of inadmissibility at § 1182(a)(7)(i). This subsection was the sole

charge of inadmissibility against Mr. Gambino-Ruiz in both his

removals. Thus, Torres’ interpretation of § 1182(a)(7)(i) controls the

legal analysis here.


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      Torres involved a Filipina citizen who had entered the Northern

Mariana Islands as a guest worker in 1997. See 976 F.3d at 923. She was

still residing there when the Immigration and Nationality Act (INA) took

effect in 2009. See id. at 922, 923. Soon after the INA took effect, the

government charged Ms. Torres with being inadmissible under

§ 1182(a)(7)(A)(i). See id. This subsection renders inadmissible any

noncitizen who, “at the time of application for admission,” is “not in

possession of a valid unexpired immigrant visa” or other entry document. 8

U.S.C. § 1182(a)(7)(A)(i).

      Ms. Torres argued that this ground of inadmissibility did not apply to

her. She explained that after the INA took effect, she had “never submitted

an application for admission into the United States” because she was

already residing in the Northern Mariana Islands. Id. at 923. Thus, she did

not fall within the plain language of § 1182(a)(7), which only applies to

someone not in possession of a valid visa “at the time of application for

admission.” Id. The government disagreed, arguing that an application for

admission “continues, potentially for years or decades, until the immigrant

appears before the IJ in removal proceedings.” Id. at 926 (emphasis in

original).



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     In a unanimous decision, the en banc Court agreed with Ms. Torres.

The Court started with the plain meaning of the phrase “application for

admission.” Id. at 924. Relying on definitions elsewhere in the INA, it

concluded that this phrase refers to an “application to lawfully come from

outside into the United States after inspection and authorization by an

immigration officer.” Id. The Court then addressed the “core question in

this case”—specifically, “at what moment does ‘the time of application for

admission’ occur?” Id.

     Torres held that for purposes of § 1182(a)(7), an application for

admission occurs when a noncitizen “seeks permission to physically enter

United States territory” from either “outside the country or inside the

country at a port of entry.” Id. (emphasis added). The Court deducted this

from the statute’s exclusive reference to visas and other entry documents

that “expressly tether[ ] the statute to the moment of entering into the

United States from another country.” Id. at 925. Other examples from the

INA also “reinforce[ ] our understanding that this phrase refers to the

moment of applying for entry at the border.” Id. (emphasis added). See also

id. at 925–26 (stating that “[s]tatutory construction” also “confirms our




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conclusion that ‘application for admission’ should be read as referring to the

moment an immigrant applies to physically enter the country”).

     Torres rejected the government’s theory that an application for

admission could continue “potentially for years or decades,” holding that

this would “push the statutory test beyond its breaking point.” Id. at 926.

Relying on other examples of temporal language from the INA, the Court

concluded that “Congress understands the phrase ‘at the time’ to refer to a

single point in time, and when it wants a statute’s reach to endure over a

continuous subsequent period, it says so.” Id. This reading of the statute

also aligned with decisions from the Eleventh and Fifth Circuits holding

the same. See id. at 926–27 (citing Ortiz-Bouchet v. U.S. Attorney General,

714 F.3d 1353, 1355 (11th Cir. 2013) (per curiam), and Marques v. Lynch,

834 F.3d 549, 561 (5th Cir. 2016)). So Torres made clear that the ground of

inadmissibility at § 1182(a)(7)(A)(i) only applies to noncitizens at the

moment they are “applying for entry at the border.” Id. at 925.

           2.    Under Torres, expedited removal cannot apply to
                 people inside the U.S. who unlawfully entered.

     Torres carries important implications for expedited removal under 8

U.S.C. § 1225(b)(1)(A)(i), which the government used to deport

Mr. Gambino-Ruiz. To understand these implications, the Court must


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compare three similar but distinct grounds of inadmissibility—only two of

which appear in the expedited removal statute.

     For purposes of this case, the INA contains three relevant grounds

of inadmissibility. One refers to noncitizens who are “present in the

United States” without being admitted or “arrive at any time and place

other than as designated”—i.e., undocumented people who entered

unlawfully. 8 U.S.C. § 1182(a)(6)(A)(i). The second refers to noncitizens

who attempt to enter the U.S. “by fraud or willfully misrepresenting a

material fact”—i.e., those who present a fake green card or lie about their

nationality to enter the country. 8 U.S.C. § 1182(a)(6)(C)(i). The third is

the subsection at issue in Torres, which refers to a person who “at the

time of application for admission” is “not in possession of a valid

unexpired immigrant visa” or other valid entry document. 8 U.S.C.

§ 1182(a)(7)(i)(I). The following chart provides a comparison of the

relevant language in these subsections:




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                         Three inadmissibility grounds:

§ 1182(a)(6)(A)(i) “present in the United States without being
                   admitted or paroled” or “arrives in the United
                   States at any time or place other than as
                   designated by the Attorney General”

§ 1182(a)(6)(C)(i) “by fraud or willfully misrepresenting a
                   material fact, seeks to procure (or has sought to
                   procure or has procured) a visa, other
                   documentation, or admission into the United
                   States or other benefit provided under this chapter”

 § 1182(a)(7)(i)(I) “at the time of application for admission” is
                    “not in possession of a valid unexpired
                    immigrant visa, reentry permit, border crossing
                    identification card, or other valid entry document
                    required by this chapter”

     Expedited removal is a type of deportation that permits an

immigration officer to summarily issue an order of removal “without

further hearing or review.” 8 U.S.C. § 1225(b)(1)(A)(i). But Congress

slated only two of the three inadmissibility categories listed above for

expedited removal:

     If an immigration officer determines that an alien (other than
     an alien described in subparagraph (F)) who is arriving in
     the United States or is described in clause (iii) is inadmissible under
     section 1182(a)(6)(C) or 1182(a)(7) of this title, the officer shall
     order the alien removed from the United States without further
     hearing or review[.]

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8 U.S.C. § 1225(b)(1)(A)(i) (emphases added). In other words, the

government may place in expedited removal people who 1) use fraud or

misrepresentation under § 1182(a)(6)(C)(i) or 2) do not have a valid entry

document “at the time of application for admission” under § 1182(a)(7).

But Congress did not include in the expedited removal statute the third

ground of inadmissibility—i.e., those who are present without admission

or who entered at an undesignated time or place:


                         Subject to Expedited Removal?

§ 1182(a)(6)(A)(i) “present in the United States without being
                   admitted or paroled” or “arrives in the United

     NO            States at any time or place other than as designated
                   by the Attorney General”

§ 1182(a)(6)(C)(i) “by fraud or willfully misrepresenting a
                   material fact, seeks to procure (or has sought to

   YES             procure or has procured) a visa, other
                   documentation, or admission into the United
                   States or other benefit provided under this chapter”

 § 1182(a)(7)(i)(I) “at the time of application for admission” is “not in
                    possession of a valid unexpired immigrant

   YES              visa, reentry permit, border crossing identification
                    card, or other valid entry document required by this
                    chapter”




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     Although Congress did not include unlawful entrants under

§ 1182(a)(6)(A)(i) in the expedited removal statute, the Department of

Homeland Security has interpreted the statute to encompass them. In

2004, it issued a regulation applying expedited removal to all noncitizens

who are “encountered by an immigration officer within 100 air miles of

the U.S. international land border” and have “not established to the

satisfaction of an immigration officer” that they have been physically

present in the United States for 14 days. Designating Aliens For

Expedited Removal, 69 Fed. Reg. 48877, 48880 (2004). The government

did so under the theory that a person who had crossed the border between

ports of entry was inadmissible for not having a valid entry document “at

the time of application for admission” under § 1182(a)(7).

     Torres now forecloses that theory. Torres held that § 1182(a)(7)(A)(i)

only describes noncitizens who are “applying for entry at the border.”

Torres, 976 F.3d at 925. But people like Mr. Gambino-Ruiz were arrested

inside the United States and did not “apply for entry at the border.” So

while Mr. Gambino-Ruiz may be inadmissible under § 1182(a)(6)(A)(i) for

being unlawfully present, that subsection is not listed in the expedited




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removal statute. And he does not fall within either of the subsections that

are subject to expedited removal.


                      Mr. Gambino-Ruiz’s inadmissibility

§ 1182(a)(6)(A)(i) “present in the United States without being
                   admitted or paroled” or “arrives in the United

   YES             States at any time or place other than as designated
                   by the Attorney General”

§ 1182(a)(6)(C)(i) “by fraud or willfully misrepresenting a
                   material fact, seeks to procure (or has sought to

     NO            procure or has procured) a visa, other
                   documentation, or admission into the United States
                   or other benefit provided under this chapter”

 § 1182(a)(7)(i)(I) “at the time of application for admission” is “not in
                    possession of a valid unexpired immigrant

     NO             visa, reentry permit, border crossing identification
                    card, or other valid entry document required by this
                    chapter”



Thus, the government lacked the statutory authority to deport

Mr. Gambino-Ruiz through expedited removal.

     As Torres explained, Congress intended expedited removal to work

this way. The legislative history shows that Congress believed

“§ 1182(a)(6) would apply where noncitizens had already ‘made an entry



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without inspection,’” while “§ 1182(a)(7) would apply where the

‘examining immigration officer determines that an arriving alien’ lacks

valid documents.” Torres, 976 F.3d at 929 n.12 (quoting H.R. Rep. No.

104-828, at 208, 209 (1996) (Conf. Rep.) (emphases in Torres)). Torres

noted that “a contrary reading would render other provisions of the

immigration code superfluous.” Id. at 930. After all, if “anyone present

without a valid admission document is also in violation of § 1182(a)(7),” it

would “render[ ] § 1182(a)(6) wholly redundant as a ground of

inadmissibility.” Id. (citing Antonin Scalia & Bryan A. Garner, Reading

Law: The Interpretation of Legal Texts 174–79 (2012), and its discussion

of the rule against surplusage).

     Furthermore, the legislative history confirms that Congress only

applied the expedited removal statute to “arriving aliens.” See H.R. Rep.

No. 104-828, at 209 (1996) (Conf. Rep.) (“Expedited Removal of Arriving

Aliens”). The term “arriving alien” is defined as “an applicant for

admission coming or attempting to come into the United States at a port-

of-entry, or an alien seeking transit through the United States at a port-

of-entry[.]” 8 C.F.R. § 1001.1(q) (emphases added). It also includes a

person interdicted at sea and brought to the U.S. “whether or not to a



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designated port-of-entry.” Id. So apart from those “interdicted at sea,”

Congress intended expedited removal to apply only to applications for

admission at ports of entry.3

     Other textual clues confirm that Congress intended expedited

removal to apply at ports of entry. The inadmissibility ground at

§ 1182(a)(6)(A)(i), which does apply to Mr. Gambino-Ruiz, refers to a

person who arrives “at any time or place other than as designated by the

Attorney General.” This language is nearly identical to the crime of illegal

entry, which prohibits entry “at any time or place other than as

designated by immigration officer.” 8 U.S.C. § 1325(a)(1). Such language

refers exclusively to people who “enter or attempt to enter outside of an

open port of entry,” not those who elude inspection at a port of entry.

United States v. Corrales-Vazquez, 931 F.3d 944, 950 (9th Cir. 2019)

(emphasis added). So Congress knew how to draft language referring to

people who enter unlawfully, yet it chose not to include such language in


     3 Torres clarified that expedited removal could also apply to a
person inside the U.S. who had entered “by fraud or willfully
misrepresenting a material fact” under § 1182(a)(6)(C). See 976 F.3d at
929 n.13 (stating that “§ 1182(a)(7), as opposed to § 1182(a)(6)(C), may
apply only to noncitizens who are ‘arriving in the United States’”)
(emphasis added). But the government has never claimed that
Mr. Gambino-Ruiz entered through fraud or misrepresentation.

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the expedited removal statute. See 8 U.S.C. § 1225(b)(1)(A)(i). Instead, it

cross-referenced two other grounds of inadmissibility, neither of which

apply to Mr. Gambino-Ruiz.

     “Where Congress includes particular language in one section of a

statute but omits it in another section of the same Act, it is generally

presumed that Congress acts intentionally and purposely in the disparate

inclusion or exclusion.” I.N.S. v. Cardoza-Fonseca, 480 U.S. 421, 432

(1987) (quotations and alterations omitted). If Congress wanted to place

people inside the United States in expedited removal, it had a very simple

way to do so: list § 1182(a)(6)(A) as a third ground of inadmissibility in the

expedited removal statute. But Congress did not. So under the bedrock

rules of statutory construction, courts may not rewrite the statute to

apply expedited removal to a category of noncitizens that Congress

deliberately omitted.

     At least one district court has applied Torres to reach this same

conclusion. See United States v. Mayren, __ F. Supp. 3d __, No. CR 20-

054-DSF, 2022 WL 4480568 (C.D. Cal. Mar. 16, 2022). In Mayren, an

immigration officer issued an expedited removal order under

§ 1182(a)(7) to a person who had crossed the border three miles east of



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Naco, Arizona. See id. at *1. When the defendant later returned and

faced a § 1326 charge, he moved to dismiss the indictment for the

reasons explained here. See id. at *3.

     The district court granted the motion to dismiss. See id. at *1. It

held that it is “clear based on Torres” that § 1182(a)(7) only “pertains to

noncitizens ‘applying for entry at the border.’” Id. at *4 (quoting Torres,

976 F.3d at 925). The court rejected the government’s argument that

Torres is limited to the narrow circumstances relating to the Northern

Mariana Islands, explaining that no precedent had ever applied

§ 1182(a)(7) to “‘noncitizens who are physically but unlawfully present

in the United States.’” Id. at *5 (quoting Torres, 976 F.3d at 929 n.13).

The court thus found that the defendant had satisfied all the

requirements of § 1326(d) and dismissed the indictment. See id. at *7.

Though the government filed a motion to reconsider, the court

dismissed that, too. See United States v. Mayren, No. CR 20-00054-DSF,

2022 WL 4480567, at *1 (C.D. Cal. Aug. 1, 2022).

     Mr. Gambino-Ruiz’s case presents a materially identical set of

facts. The government’s own documents state that in March and May of

2013, Mr. Gambino-Ruiz “illegally entered” the United States by



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crossing the border “east of Lukeville, Arizona Port of Entry” and

“walking through the desert near Sonoyta, Mexico.” ER-90, 100. He was

placed in expedited removal proceedings, charged with inadmissibility

under § 1182(a)(7) and subsequently removed. ER-88–100. But because

Mr. Gambino-Ruiz was not “applying for admission at the border,”

Torres dictates that he was not inadmissible under § 1182(a)(7). Thus,

he was not subject to expedited removal.

              3.    The district court’s conclusions to the contrary
                    were wrong.

     Below, the district court disagreed with Mr. Gambino-Ruiz and

held that he was subject to expedited removal. ER-11. To do so, the

court relied on Dep’t of Homeland Sec. v. Thuraissigiam, 140 S. Ct. 1959

(2020), a Supreme Court decision involving a petition for habeas corpus.

ER-5, 11. The court agreed with the government’s argument that

Thuraissigiam “resolves the issue you raised as to whether the person

has to be caught trying to enter at the port of entry[.]” ER-5. But the en

banc Torres panel already considered and rejected this argument—

twice.

     In Thuraissigiam, the Supreme Court upheld limits on the use of

a habeas corpus proceeding to challenge an asylum officer’s


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determination that a person lacked a “credible fear” of persecution. See

id. at 1983. Like Mr. Gambino-Ruiz, the petitioner in Thuraissigiam

entered unlawfully and was apprehended near the border. See id. at

1967. An immigration officer found him inadmissible under § 1182(a)(7)

and issued an expedited removal order. Id. at 1964, 1967. Because an

immigration officer in Thuraissigiam applied § 1182(a)(7) to a person

inside the United States who entered unlawfully, the government and

the district court maintained that Thuraissigiam specifically considered

and resolved the question presented in Torres: whether § 1182(a)(7)’s

“at the time of application for admission” language applies only at ports

of entry. ER-5, 11.

     But Torres expressly stated that “no case has held that [the

expedited removal statute] allows an immigration officer to

apply § 1182(a)(7) to noncitizens who are physically but unlawfully

present in the United States.” Torres, 976 F.3d at 929 n.13 (emphasis

added). And Torres came out three months after Thuraissigiam. See

Thuraissigiam, 140 S. Ct. at 1959 (issued on June 25, 2020); Torres, 976

F.3d at 918 (issued on September 24, 2020). Indeed, Torres cited

Thuraissigiam for other purposes and was thus well aware of it. See id.



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at 924 n.10. So when Torres said that “no case” had expressly held that

§ 1182(a)(7) applies to noncitizens physically but unlawfully present in

the United States, this statement necessarily included Thuraissigiam.

     Torres had good reason to hold that Thuraissigiam did not resolve

the scope of § 1182(a)(7). Neither party in Thuraissigiam raised or

addressed the question of whether the phrase “time of application for

admission” in § 1182(a)(7) could apply to a noncitizen physically but

unlawfully present in the United States. See generally Thuraissigiam,

140 S. Ct. at 1963–83; Briefs of Petitioner and Respondent, Department

of Homeland Security v. Thuraissigiam, Case No. 19-161 (2020).

Mr. Thuraissigiam did not even cite § 1182(a)(7) in his brief. See Brief of

Respondent, Department of Homeland Security v. Thuraissigiam, Case

No. 19-161, 2020 WL 353476 (2020). Rather, the parties and the

Supreme Court assumed without deciding that Mr. Thuraissigiam was

inadmissible under § 1182(a)(7). This is a classic example of a question

that “merely lurk[ed] in the record, neither brought to the attention of

the court nor ruled upon.” Webster v. Fall, 266 U.S. 507, 511 (1925).

Because Thuraissigiam never considered whether § 1182(a)(7)’s “time of

application for admission” language could apply to physically but



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unlawfully present noncitizens, it may not be “considered as having

been so decided as to constitute precedent[ ].” Id.

     If any doubt remained, the en banc Torres panel rejected this

theory a second time—after the government brought Thuraissigiam to

its attention. After Torres issued, the government asked the en banc

panel to amend the opinion by deleting the language from footnote 13

stating that “no case has held that § 1225(b)(1) allows an immigration

officer to apply § 1182(a)(7) to noncitizens who are physically but

unlawfully present in the United States.” Dkt. 112 at 1–5. The

government argued that this language conflicted with Thuraissigiam,

making arguments virtually identical to those it made in Mr. Gambino-

Ruiz’s case below. See id. at 3–5. But Torres rejected these arguments,

denying the government’s motion in full and preserving its opinion as

written. See Dkt. 113. So Torres twice rejected the district court’s theory

that Thuraissigiam controls the question presented here.

     It is true that Torres concluded footnote 13 by stating that “we

need not resolve the full scope” of the expedited removal statute. 976

F.3d at 929 n.13. But this simply means that the Court must do so now

by plugging Torres’ binding interpretation of § 1182(a)(7) into the



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expedited removal statute. Once the Court does so, the outcome is

inevitable: people who did not apply for admission at a port of entry do

not fall within § 1182(a)(7) and thus are not subject to expedited

removal. It is simply not possible to read the language of § 1182(a)(7) as

applying one way to Ms. Torres and another way to Mr. Gambino-Ruiz.

     Finally, the district court questioned as a matter of policy why it

would “make sense” to “apply [expedited removal] at the port of entry

and not at other places?” ER-7–8. To begin, courts may not second guess

Congress’ policy choices when the “plain meaning of the statute” makes

these choices clear. Torres, 976 F.3d at 924. See also Nestle USA, Inc. v.

Doe, 141 S. Ct. 1931, 1940 (2021) (declining to rewrite the statute and

“impermissibly second-guess Congress’ decision”).

     But even if this Court could rewrite the plain language of the

statute, the policy choice to only apply § 1182(a)(7) to ports of entry is

not illogical. Congress created other ways by which individuals

unlawfully present in the United States may be quickly removed

without seeing an immigration judge. See, e.g., 8 U.S.C. § 1231(a)(5)

(reinstatement of removal); 8 U.S.C. § 1228(b) (administrative removal);

8 U.S.C. § 1229a(d) (stipulated removal). Given these options, it is not



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unreasonable to think that Congress reserved the most expeditious type

of removal for those at ports of entry. See Torres, 976 F.3d at 929 n.12

(noting the legislative history that “§ 1182(a)(7) would apply where the

‘examining immigration officer determines that an arriving alien’ lacks

valid documents”) (quoting H.R. Rep. No. 104-828, at 208, 209 (1996)

(Conf. Rep.) (emphases in Torres)). Indeed, a decade earlier, the

Supreme Court had explained that some individuals in exclusion

proceedings at a “port of entry” lack the same due process rights as

people “already physically in the United States.” Landon v. Plasencia,

459 U.S. 21, 26–27, 33–35 (1982). Given this holding, Congress may not

have wanted to subject expedited removal to legal challenges from

people within the United States who stand on stronger constitutional

footing.

     But whatever Congress’ reasons, the plain language of the statute

controls. Because Mr. Gambino-Ruiz did not apply for admission at a

port of entry, Torres mandates that he was not inadmissible under

§ 1182(a)(7). The mere fact that the government has read this ground of

inadmissibility differently in the past does not control its meaning. If it

did, the executive branch—rather than the judicial branch—would have



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the power to interpret the laws of this country, violating any notion of

separation of powers. Accordingly, this Court must apply Torres to hold

that Mr. Gambino-Ruiz was not subject to expedited removal.

     C.    Mr. Gambino-Ruiz’s unlawful removal satisfies the
           requirements of § 1326(d).

     A defendant charged with illegal reentry under § 1326 has a due

process right to challenge the removal order upon which the charge is

predicated. See United States v. Mendoza-Lopez, 481 U.S. 828, 837-38

(1987). Following Mendoza-Lopez, Congress codified the procedure for

such a challenge, requiring that defendants: 1) exhaust their

administrative remedies; 2) show that the removal proceedings

improperly deprived them of judicial review; and 3) demonstrate that

the removal order was fundamentally unfair. See 8 U.S.C. § 1326(d).

With respect to the third requirement, a removal order is

“fundamentally unfair” if 1) a defendant’s due process rights were

violated by defects in the underlying proceeding, and 2) they suffered

prejudice as a result. United States v. Ubaldo-Figueroa, 364 F.3d 1042,

1048 (9th Cir. 2004) (alterations omitted).

     Here, the district court only reached the first half of the third

prong, holding that Mr. Gambino-Ruiz’s placement in expedited


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removal proceedings “did not violate due process.” ER-11. For the

reasons above, this conclusion was incorrect. Furthermore,

Mr. Gambino-Ruiz’s removal satisfies the remaining requirements of

§ 1326(d).

             1.   Mr. Gambino-Ruiz had no right to administrative
                  remedies or judicial review.

     Below, the government did not contest that Mr. Gambino-Ruiz

satisfied the first two prongs of § 1326(d)(1) and (2). Indeed, it all but

admitted it, stating that “[a]s to the first and second requirements,

expedited removals of inadmissible arriving noncitizens do not provide for

administrative review[.]” ER-75–76 (citing United States v. Barajas-

Alvarado, 655 F.3d 1077, 1081 (9th Cir. 2011)). This was correct, as

Barajas-Alvarado held that individuals in expedited removal satisfy

§ 1326(d)(1) and (2) because they are “not entitled to administrative

review” and have “no opportunity for judicial review.” 655 F.3d at 1087.

See also United States v. Raya-Vaca, 771 F.3d 1195, 1202 (9th Cir. 2014)

(same); 8 U.S.C. § 1252(e)(5); 8 U.S.C. § 1225(b)(1)(C).

     Nothing in the Supreme Court’s recent decision in United States v.

Palomar-Santiago, 141 S. Ct. 1615 (2021), disturbs Barajas-Alvarado.

In Palomar-Santiago, the Supreme Court considered the narrow

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question of whether a person appearing before an IJ who was not

removable as charged was “excused” from meeting the exhaustion and

judicial review requirements in § 1326(d)(1) and (2). Id. at 1619. Unlike

the defendant in Palomar-Santiago, Mr. Gambino-Ruiz had no

administrative or judicial remedies to challenge his expedited removal.

See 8 U.S.C. § 1252(e)(5); 8 U.S.C. § 1225(b)(1)(C). Indeed, six months

after Palomar-Santiago, this Court continued to apply Barajas-

Alvarado to expedited removal orders. See United States v. De La Mora-

Cobian, 18 F.4th 1141, 1146 (9th Cir. 2021). Thus, Mr. Gambino-Ruiz’s

claim satisfies the first two prongs of § 1326(d)(1) and (2). 4

               2.    Mr. Gambino-Ruiz’s removal order was
                     fundamentally unfair.

      As noted, a removal order is “fundamentally unfair” under the

third prong of § 1326(d) if 1) a defendant’s due process rights were

violated by defects in the underlying proceeding, and 2) they suffered

prejudice as a result. Ubaldo-Figueroa, 364 F.3d at 1048. Here, the



      4 Even if Mr. Gambino-Ruiz somehow did have a right to
challenge the expedited removal, he was never advised of it and thus
did not knowingly and intelligently waive it. See United States v.
Ramos, 623 F.3d 672, 680 (9th Cir. 2010) (stating in the context of
§ 1326(d) that a valid waiver of the right to appeal “must be both
considered and intelligent”) (quotations omitted).

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district court denied Mr. Gambino-Ruiz’s motion to dismiss solely under

the first half of this definition—finding that his placement in expedited

removal proceedings “d[id] not violate due process” because he was

inadmissible under § 1182(a)(7). ER-11.

     As explained above, Torres forecloses this conclusion. This Court

cannot limit § 1182(a)(7) to applicants for admission at a port of entry in

Torres and yet read it more broadly here. Rather, the Court must apply

Torres’ interpretation of § 1182(a)(7) consistently across the board. This

means that Mr. Gambino-Ruiz was not inadmissible under § 1182(a)(7)

and not subject to expedited removal. Thus, as the district court in

Mayren held, “under Torres, [the defendant’s] due process rights were

violated when he was placed in expedited removal proceedings because

he was not inadmissible under § 1182(a)(7).” No. CR 20-054-DSF, 2022

WL 4480568, at *6.

     Furthermore, this Court has held that the government’s failure to

“comply with [its] own regulations” violates due process when those

regulations “serve a purpose of benefit to the alien.” Ramos, 623 F.3d at

683 (quotations and alterations omitted). Here, the government’s error

failed to comply with the plain language of a statute that excluded



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Mr. Gambino-Ruiz from expedited removal. See 8 U.S.C.

§ 1225(b)(1)(A)(1) (limiting expedited removal to those who are

“inadmissible under section 1182(a)(6)(C) or 1182(a)(7)”). This statute

“serves a purpose of benefit” to Mr. Gambino-Ruiz because it would

have afforded him access to a full hearing, administrative remedies,

relief from removal, and judicial review. See 8 U.S.C. § 1229a(b)(1)–(4)

(granting noncitizens the right to appear before an immigration judge,

present witnesses, retain counsel, examine evidence, and seek relief

from removal). But because the government erroneously placed

Mr. Gambino-Ruiz in expedited removal proceedings, he had access to

none of these statutory rights, and his removal violated due process.

     This error also caused Mr. Gambino-Ruiz prejudice. As the district

court held in Mayren, “a defendant is prejudiced where he was ‘removed

when he should not have been.’” 2022 WL 4480568, at *6 (quoting

United States v. Aguilera-Rios, 769 F.3d 626, 630, 636 (9th Cir. 2014).

“This is true even when the defendant would have otherwise been

removable.” Id. (citing United States v. Ochoa-Oregel, 904 F.3d 682,

685–86 (9th Cir. 2018)). So “‘even if the government might have been

able to remove the defendant on other grounds through a formal



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removal proceeding, his removal on illegitimate grounds is enough to

show prejudice.’” Id. (quoting Ochoa-Oregel, 904 F.3d at 685–86)

(alterations omitted). Thus, “when a defendant is removed when he

should not have been, his removal was fundamentally unfair.” Id. See

also United States v. Valdivia-Flores, 876 F.3d 1201, 1210 (9th Cir.

2017) (because an improper charge in administrative removal

proceedings “cannot support the asserted basis” for removal, the

noncitizen “was therefore prejudiced” and his removal fundamentally

unfair).5

     D.       Alternatively, the prior removal order is a legal
              nullity that cannot sustain a § 1326 conviction.

     Even outside of the § 1326(d) framework, Mr. Gambino-Ruiz’s

erroneous placement in expedited removal prevents the government

from using that removal to convict him. The Immigration and



     5  Although a showing that he was not inadmissible under
§ 1182(a)(7) is sufficient to demonstrate prejudice, Mr. Gambino-Ruiz
can also show that he would have had a plausible claim to voluntary
departure if placed before an immigration judge. See United States v.
Valdez-Novoa, 780 F.3d 906, 914–21 (9th Cir. 2015) (discussing the
requirements for a plausibility showing on voluntary departure under
§ 1326(d)(3)). If the Court determines that such an analysis is required,
it should remand for a full consideration of Mr. Gambino-Ruiz’s
equities, since the district court did not consider the issue of prejudice
below. ER-5–11.

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Nationality Act provides that “[a]n immigration judge shall conduct

proceedings for deciding the inadmissibility or deportability of an alien.”

8 U.S.C. § 1229a(a)(1) (emphasis added). Apart from statutorily-created

exceptions such as expedited removal, proceedings before an

immigration judge are the “sole and exclusive procedure” for

determining inadmissibility. 8 U.S.C. § 1229a(a)(3).

     Where an adjudicator lacks jurisdiction over a defendant, that

adjudicator “has no power to render any judgment against the

defendant’s person or property.” S.E.C. v. Ross, 504 F.3d 1130, 1138–39

(9th Cir. 2007). Thus, any subsequently issued judgment is “void” as a

matter of law. See id; see also Bell Helicopter Textron, Inc. v. Islamic

Republic of Iran, 734 F.3d 1175, 1181 (D.C. Cir. 2013) (explaining the

“traditional rule” that “a judgment rendered in excess of the court’s

jurisdiction is void and a legal nullity”). So when a noncitizen is

erroneously placed in expedited removal, an immigration officer’s “lack

of authority” to issue a removal order in that context “renders that

component of [the noncitizen’s] proceedings in essence, a legal nullity.”

Noriega-Lopez v. Ashcroft, 335 F.3d 874, 884 (9th Cir. 2003).




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      Here, the immigration officer had no statutory authority to issue an

expedited removal order against Mr. Gambino-Ruiz. See 8 U.S.C.

§ 1225(b)(1)(A)(i). Thus, no order existed as a matter of law. Accordingly,

the government could not prove a key element of illegal re-entry: that

Mr. Gambino-Ruiz was previously “denied admission, excluded, deported,

or removed.” 8 U.S.C. § 1326(a)(1). So even if Mr. Gambino-Ruiz’s

challenge somehow fails to satisfy the three prongs of § 1326(d), the “legal

nullity” of his removal order means that the government did not prove all

the elements of § 1326. Noriega-Lopez, 335 F.3d at 884. The Court may

dismiss the indictment on that basis alone.

                                   *     *     *

     The unanimous en banc holding in Torres requires this Court to

apply § 1182(a)(7) only to noncitizens who submit an application for

admission at a port of entry. Mr. Gambino-Ruiz did not do so. Thus, he

was not subject to expedited removal. Because this was fatal to his illegal

reentry charge, the Court must vacate his conviction.




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II.   The district court’s use of the wrong legal standard to deny
      Mr. Gambino-Ruiz acceptance of responsibility requires
      remand.

      A.   Standard of review

      When analyzing a decision under U.S.S.G. § 3E1.1, this Court

reviews de novo “whether the district court misapprehended the law

with respect to the acceptance of responsibility reduction.” United

States v. Green, 940 F.3d 1038, 1041 (9th Cir. 2019). It reviews any

factual finding embedded in an acceptance of responsibility

determination for clear error. Id. See also United States v. Tuan Ngoc

Luong, 965 F.3d 973, 990 (9th Cir. 2020) (same).

      B.   The district court did not apply the correct factors to
           determine whether to grant Mr. Gambino-Ruiz
           acceptance of responsibility.

      When considering whether to grant Mr. Gambino-Ruiz a two-level

downward adjustment at sentencing, the district court considered

almost none of the relevant considerations listed in the Guidelines

commentary. Instead, it fixated on Mr. Gambino-Ruiz’s post-trial

statements and the fact that he did not request a conditional plea or a

bench trial. By relying on the wrong factors, the court “erred as a

matter of law.” Tuan Ngoc Luong, 965 F.3d at 992.



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     Section 3E1.1 of the Sentencing Guidelines states that if a

defendant “clearly demonstrates acceptance of responsibility for his

offense,” the Court may “decrease the offense level by 2 levels.” U.S.S.G.

§ 3E1.1(a). To determine whether to grant an acceptance-of-

responsibility adjustment, Note 1 of the commentary includes a non-

exhaustive list of “appropriate considerations”:

     (A)   truthfully admitting the conduct comprising the offense(s) of
           conviction, and truthfully admitting or not falsely denying
           any additional relevant conduct . . .;

     (B)   voluntary termination or withdrawal from criminal conduct
           or associations;

     (C)   voluntary payment of restitution prior to adjudication of
           guilt;

     (D)   voluntary surrender to authorities promptly after
           commission of the offense;

     (E)   voluntary assistance to authorities in the recovery of the
           fruits and instrumentalities of the offense;

     (F)   voluntary resignation from the office or position held during
           the commission of the offense;

     (G)   post-offense rehabilitative efforts (e.g., counseling or drug
           treatment); and

     (H)   the timeliness of the defendant’s conduct in manifesting the
           acceptance of responsibility.

U.S.S.G. § 3E1.1 n.1.




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     The commentary adds that this adjustment is not intended to

apply to a person who “puts the government to its burden of proof at

trial by denying the essential factual elements of guilt.” U.S.S.G.

§ 3E1.1 n.2. Such instances will be “rare.” Id. But going to trial does not

“automatically preclude” a defendant from receiving acceptance of

responsibility. Id. For instance, if a person “goes to trial to assert and

preserve issues that do not relate to factual guilt,” such as a

“constitutional challenge to a statute or a challenge to the applicability

of a statute to his conduct,” they may still receive the adjustment. Id.

Indeed, “were a defendant required to plead guilty to be entitled to the

reduction, the sentencing guidelines would penalize the exercise of the

constitutional right to go to trial.” United States v. McKinney, 15 F.3d

849, 852 (9th Cir. 1994) (emphasis in original). But when a defendant

goes to trial, the sentencing court must base its determination

“primarily upon pre-trial statements and conduct” from the defendant.

U.S.S.G. § 3E1.1 n.2. (emphasis added).

     Here, the district court did not rely “primarily upon

[Mr. Gambino-Ruiz’s] pre-trial statements and conduct.” Id. Rather, it

relied primarily on Mr. Gambino-Ruiz’s post-trial statements and



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conduct, as well as considerations listed nowhere in the § 3E1.1

commentary. Specifically, the district court relied on the fact that

Mr. Gambino-Ruiz:

     • Had “an opportunity to talk to a Probation Officer” but “decided
       not to make a statement” (even though defense counsel
       explained that this was due in part to her own “scheduling
       issues,” ER-25, 28;

     • Did not “pursue a conditional plea” or other “options,” ER-26,
       28, 37–38, 39;

     • Did not waive his right to a jury trial in lieu of a bench trial or
       a stipulated facts trial, ER-26–27, 28, 37–38, 39;

     • Filed a motion to suppress and contested a special allegation,
       ER-38;

     • Had prior convictions, ER-39–40.

     As the citations to this list show, the district court’s most

frequently cited reason for denying the adjustment was that

Mr. Gambino-Ruiz had not sought a conditional plea or a bench trial.

ER-26–27, 28, 37–38, 39. But this is not one of the “appropriate

considerations” listed in the commentary. U.S.S.G. § 3E1.1 n.1. A judge

“err[s] as a matter of law” by denying an acceptance adjustment on the

basis of factors that do not govern the analysis. Tuan Ngoc Luong, 965

F.3d at 992 (reversing denial of acceptance adjustment when court



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improperly relied on defendant’s jurisdictional and “good-faith

challenges at trial”).

      Furthermore, the district court focused almost exclusively on the

absence of post-trial statements, remarking that “a jury’s found him

guilty, but where’s the acceptance of responsibility and contrition?

Where is that? I haven’t seen that.” ER-25–26. Yet the commentary

required the court to base its determination “primarily upon

[Mr. Gambino-Ruiz’s] pre-trial statements and conduct.” U.S.S.G.

§ 3E1.1 n.2 (emphasis added). And Mr. Gambino-Ruiz’s pre-trial

statements “truthfully admitt[ed] the conduct comprising the offense(s)

of conviction.” U.S.S.G. § 3E1.1 n.1(A); ER-27. Thus, the district court

considered the wrong statements and the wrong factors to deny the

adjustment.

      Even as the district court considered the wrong statements and

factors, it declined to consider the “appropriate factors” listed in

U.S.S.G. § 3E1.1 n.1. For instance, Mr. Gambino-Ruiz explained that

he:

      • Went to trial to “preserve his 1326(d) motion,” ER-26;

      • Did not “contest any specific element during his trial,” ER-26;



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     • Only had a “one-day trial,” ER-27, 29;

     • “[S]tipulated to his fingerprints,” which “saves Government
       resources,” ER-27;

     • “[D]idn’t testify” on his own behalf, ER-27;

     • “[A]dmitted to the elements of the offense” in a post-arrest
       statement, ER-27;

     Yet the district court cited almost none of these factors in

Mr. Gambino-Ruiz’s favor. ER-26–40. The few it did mention were

undervalued when compared to the wrong factors. For instance, almost

immediately after his arrest, Mr. Gambino-Ruiz “admitted to the

elements of the offense.” ER-27. Admitting one’s acts “immediately upon

[one’s] arrest” supports an acceptance of responsibility adjustment.

United States v. Mohrbacher, 182 F.3d 1041, 1052 (9th Cir. 1999). But

the court appeared to give this fact no weight, even as it was relying on

Mr. Gambino-Ruiz’s post-trial statements. ER-25–26 (stating that “a

jury’s found him guilty, but where’s the acceptance of responsibility and

contrition? Where is that? I haven’t seen that”).

     A decision on an acceptance-of-responsibility adjustment receives

deference “as long as we can determine that the district court

considered the defendant's objections and did not rest its decision on



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impermissible factors.” Mohrbacher, 182 F.3d at 1052. Here, however,

the court rested its decision on impermissible factors, not the

commentary’s listed factors. ER-26–40. “Although [Mr. Gambino-Ruiz]

did not plead guilty, the district court was still obliged to assess his

conduct in light of the ‘appropriate considerations’ listed in the

application notes.” McKinney, 15 F.3d at 853 n.8 (quoting U.S.S.G.

§ 3E1.1 n.1). Because it did not, this Court must remand with

instructions to correctly apply the § 3E1.1 factors.

                               CONCLUSION

     For these reasons, the Court should reverse the district court’s

denial of Mr. Gambino-Ruiz’s motion to dismiss the indictment and

remand with instructions to vacate his conviction. Alternatively, the

Court should remand for resentencing with instructions for the district

court to apply the appropriate Guidelines factors in a new acceptance-

of-responsibility determination.

                                     Respectfully submitted,

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                CERTIFICATE OF RELATED CASES

     Counsel is not aware of any related case that is currently pending

before the Court.

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                  CERTIFICATE OF COMPLIANCE

  PURSUANT TO FED R. APP. 32(A)(7) AND CIRCUIT RULE 32-1 FOR CASE
                  NUMBERS 21-50303, 21-50305


     I certify that:

      X     Pursuant to Fed. R. App. P. 32(a)(7)) and Ninth Circuit Rule
32-1, the attached opening brief is:

      X      Proportionately spaced, has a typeface of 14 points or more
and contains 8,810 words (opening, answering, and the second and third
briefs filed in cross-appeals must not exceed 14,000 words; reply briefs
must not exceed 7,000 words).



DATED:    October 18, 2022           /s/ Kara Hartzler
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